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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

CHANDRA KANTOR, as the
Personal Representative of the
Estate of HANUMAN JOYCE, and
Survivors, CHANDRA KANTOR,
Mother, and RAMAYANA BABA,
Father,

             Plaintiff,

      v.                                              Case No.: 3:16cv449-RV/GRJ

CORIZON LLC; DANIEL CHERRY, D.O.,
individually; CHRISTINE NOBLES,
individually; AMANDA SNEED, individually;
BAPTIST HOSPITAL, INC.; HAITHAM
QADER, M.D., individually; SURENDAR
S. VEERA, M.D., individually,

          Defendants.
___________________________/
                                       ORDER
      The plaintiff, Chandra Kantor, is the mother and personal representative of the
estate of Hanuman Joyce, a Florida prisoner who died while in the back of a Florida
Department of Corrections (“FDOC”) van as he was being transported from Baptist
Hospital in Pensacola to a prison hospital in Lake Butler. The plaintiff originally sued
numerous FDOC and hospital defendants, but she subsequently settled with the FDOC
defendants. The hospital defendants have now moved to amend their previously-filed
answers and affirmative defenses to add the FDOC defendants as “Fabre defendants”
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(docs. 141, 142, 143).1 The plaintiff has opposed the motions, contending that Fabre
only applies to negligent conduct, and the allegations against the FDOC defendants
in the operative complaint involved primarily (but not solely) intentional misconduct.
The hospital defendants then moved for leave to file replies to the plaintiff’s response
(docs. 145, 147), and the plaintiff has filed responses in opposition.
       The plaintiff is correct that Fabre only applies to negligent conduct. See, e.g.,
Merrill Crossings Assocs. v. McDonald, 705 So.2d 560, 623-63 (Fla. 1998) (“it would
be irrational to allow a party who [commits negligence] to reduce its liability because
there is an intervening intentional tort . . . ”). However, the operative complaint alleges
some negligent conduct by certain of the FDOC defendants and, in any event, as one
of the hospital defendants has noted, “there is no legal basis for confining the theory
of liability against a Fabre defendant to the theories contained in a complaint. Indeed,
many Fabre defendants are never named in a given complaint.”
       When a court is presented, as here, with a motion to amend the pleadings after
the deadline in the scheduling order has passed, the court must engage in a two-step
analysis. First, I must determine whether the party seeking to amend has shown “good
cause” for modifying the scheduling order. See Millennium Partners, L.P. v. Colmar
Storage, LLC, 494 F.3d 1293, 1298-99 (11th Cir. 2007). If the movant demonstrates
good cause, I must then determine whether the amendment is proper under Rule 15(a)
of the Federal Rules of Civil Procedure. See id.2

       1

        In Fabre v. Marin, 623 So.2d 1182 (Fla. 1993), the Supreme Court of Florida held that the
state comparative fault statute requires fault to be apportioned among all responsible entities who
contribute to an injury even though not all of them have been (or could be) joined as defendants.
       2

        Rule 15(a) provides that a party may amend the pleadings “only with the opposing party’s
written consent or the court’s leave,” but that leave shall be freely given “when justice so requires.”
In construing Rule 15(a), the Supreme Court has held that:
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       As for the first step, the hospital defendants have established good cause for the
amendment. Indeed, before the FDOC defendants settled with the plaintiff, they were
not Fabre defendants or subject to any setoff claims because they were parties to the
case. As for the second step, plaintiff has offered no persuasive or compelling reason
why leave should not be “freely given” on the facts of this case.
       Accordingly, the hospital defendants’ motions for leave to amend their answers
and affirmative defenses (docs. 141, 142, 143) are hereby GRANTED, and the FDOC
defendants may be Fabre defendants to the extent their conduct sounds in negligence.
The hospital defendants’ motions for leave to file a reply to the plaintiff’s response
in opposition (docs. 145, 147) are DENIED, as moot.


       DONE and ORDERED this 3rd day of October 2017.


                                   /s/ Roger Vinson
                                   ROGER VINSON
                                   Senior United States District Judge




             In the absence of any apparent or declared reason—such as undue
             delay, bad faith, or dilatory motive on the part of the movant,
             repeated failure to cure deficiencies by amendments previously
             allowed, undue prejudice to the opposing party by virtue of the
             allowance of the amendment, futility of amendment, etc.—the leave
             sought should, as the rules require, be “freely given.”
Foman v. Davis, 371 U.S. 178, 182 (1962).
